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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                  4:11CR3089
                                             )
             V.                              )
                                             )
FRANK RODRIGUEZ III,                         )                    ORDER
                                             )
                    Defendant.               )
                                             )


      IT IS ORDERED that the defendant’s motion to continue sentencing (filing 59) is
denied without prejudice to a delayed self-surrender.

      DATED this 9 th day of August, 2012.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            Senior United States District Judge
